              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                                SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                         Plaintiff,                 )
                                                    )
        vs.                                         )      No. 07-05060-05-CR-SW-ODS
                                                    )
JOSEPH JOHN RISTAU,                                 )
                                                    )
                         Defendant.                 )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


        Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of the Defendant to Count One of the

Indictment filed on August 29, 2007, is now Accepted and the Defendant is Adjudged Guilty of

such offense. Sentencing will be set by subsequent Order of the Court.




                                                        /s/ Ortrie D. Smith
                                                    ORTRIE D. SMITH
                                                    UNITED STATES DISTRICT JUDGE




Date:   November 7, 2008




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